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                              IN THE UNITED STATES DISTRICT COURT
                              FOR THE SOUTHERN DISTRICT OF TEXAS
                                       MCALLEN DIVISION

ROGELIO RAMOS AND          §
SILVIA RAMOS               §
                           §                                          CIVIL ACTION NO. _________
VS.                        §
                           §                                         JURY DEMANDED
ALLSTATE VEHICLE AND       §
PROPERTY INSURANCE COMPANY §
AND RICARDO NIEVES         §

                                              NOTICE OF REMOVAL

TO THE HONORABLE JUDGE OF SAID COURT:

         COMES NOW ALLSTATE VEHICLE AND PROPERTY INSURANCE COMPANY, and

pursuant to Rule 15, Federal Rules of Civil Procedure, and 28 U.S.C. Sections 1441 and 1332, files

this its Notice of Removal and in connection therewith would respectfully show the Court the

following:

                                                         I.
                                                    BACKGROUND

         Petitioner is a Defendant in a civil action now pending in the 93rd District Court of Hidalgo

County, Texas, Cause Number C-4707-16-B, styled Rogelio Ramos and Silvia Ramos v. Allstate

Vehicle and Property Insurance Company and Ricardo Nieves, wherein Plaintiffs seek monetary

relief for property damage, and alleged violations of the Texas Insurance Code, including violations

of the Prompt Payment of Claims Act and Unfair Settlement Practices, as well as claims for breach

of the duty of good faith and fair dealing.

                                                      II.
                                              BASIS FOR REMOVAL

         The district courts of the United States have original jurisdiction over this action based on

diversity of citizenship among the parties, in that the Defendants are diverse in citizenship from the
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Plaintiffs.

                                                     III.
                                          DIVERSITY IN CITIZENSHIP

         The Plaintiffs, Rogelio Ramos and Silvia Ramos, are domiciled in Hidalgo County, in the

State of Texas, and were domiciled there at the time this action was commenced. Plaintiffs were at

that time and are now citizens of the State of Texas.

         Allstate Vehicle and Property Insurance Company is a corporation incorporated under the

laws of the State of Illinois, having its principal place of business now and at the time this action was

commenced at Northbrook, Cook County, in the State of Illinois. Defendant is now, and was at the

time this action was commenced, a citizen of the State of Illinois and of no other state.

         Defendant, Ricardo Nieves, is not a resident of Texas, but a citizen of the State of Florida and

no other state. Accordingly, diversity of citizenship exists among the parties.

                                                   IV.
                                         AMOUNT IN CONTROVERSY

         The amount in controversy in this action exceeds, exclusive of interests and costs, the sum of

Seventy-Five Thousand Dollars ($75,000.00). Plaintiffs’ Original Petition seeks monetary damages

between $200,000.00 and $1,000,000.00. See Plaintiffs’ Original Petition Paragraph III. Should

Plaintiffs prevail on the claims against Defendants stated in the Plaintiffs’ Original Petition, attached

to this Notice, Plaintiffs would be entitled to damages in excess of Seventy-Five Thousand Dollars

($75,000.00). The applicable policy provides dwelling limits of $180,592.00, other structure limits of

$9,030.00 and contents coverage of $54,178.00. See declarations page attached as Exhibit A. Prior

to filing this lawsuit, Plaintiffs submitted a demand for $48,990.31. See demand letter attached as

exhibit B. In the demand, Plaintiffs note the potential for seeking recovery of treble damages. In

addition to policy benefits, Plaintiffs seek statutory damages, extra-contractual damages, exemplary

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damages and attorney’s fees. Accordingly, considering all damages Plaintiffs would be entitled to,

should they prevail, the amount in controversy exceeds Seventy-Five Thousand Dollars

($75,000.00).

                                                               V.

         Removal of this action is proper under 28 U.S.C. §1441, since it is a civil action brought in a

state court, and the federal district courts have original jurisdiction over the subject matter under 28

U.S.C. §1332 because the Plaintiffs and Defendants are diverse in citizenship and the amount in

controversy exceeds $75,000.00.

                                                              VI.

         This notice of removal is being filed within thirty (30) days after receipt by Petitioner of

Plaintiffs’ Original Petition, which was the first notice to Defendant of this lawsuit. This removal is

filed under 28 U.S.C. Section 1446(b).

                                                             VII.

         Petitioner’s time to answer or remove with respect to the Plaintiffs’ Original Petition has not

expired. Plaintiffs’ Original Petition was served on the Defendant Allstate Vehicle and Property

Insurance Company on October 18, 2016. All Defendants properly joined and served consent to the

removal of this case to Federal Court.

                                                             VIII.

         This action is one over which this Court has original jurisdiction under the provisions of 28

U.S.C. Section 1331 and this action may be removed to this Court by Petitioner, pursuant to the

provisions of 28 U.S.C. Section 1441. Copies of all pleadings including the docket sheet on file with

the State Court are attached hereto.

         WHEREFORE, ALLSTATE VEHICLE AND PROPERTY INSURANCE COMPANY,

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Defendant in this action, pursuant to these statutes and in conformance with the requirements set

forth in 28 U.S.C. §1446, removes this action for trial from the 93rd District Court, Hidalgo County,

Texas to this Court, on this 17th day of November, 2016.

                                                                     Respectfully submitted,

                                                                     BY:      /s/ Rosemary Conrad-Sandoval
                                                                     Rosemary Conrad-Sandoval
                                                                     Attorney-in-charge
                                                                     State Bar #04709300
                                                                     Federal ID #13738
                                                                     R. Jordan Riley
                                                                     State Bar #24064424
                                                                     Federal ID #2515695

                                                                     Of Counsel
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                                                                     ATTORNEYS FOR DEFENDANT




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                                          CERTIFICATE OF SERVICE

         I, the undersigned, hereby certify that a true and correct copy of the foregoing Notice of

Removal has been mailed, Certified Mail, Return Receipt Requested, to the Attorney for Plaintiff, as

follows:

Andres Arguello
Philip Broderick
Nishi Kothari
ARGEULLO, HOPE & ASSOCIATES
1110 Nasa Parkway, Suite 620
Houston, Texas 77058

on this 17th day of November, 2016.


                                                                      /s/ Rosemary Conrad-Sandoval
                                                                     ROSEMARY CONRAD-SANDOVAL




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